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 5   Assistant United States Attorneys
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 7          Telephone: (415) 436-6758
 8   Attorneys for Plaintiff
 9
10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                  )      NO.: CR 05-0167-WHA
                                                )
14                  Plaintiff,                  )      PETITION FOR WRIT, AND
                                                )      WRIT OF HABEAS CORPUS
15          v.                                  )      AD PROSEQUENDUM
                                                )
16   RONNIE CALLOWAY,                           )
              a/k/a “Oreo,”                     )
17                                              )
                    Defendant.                  )
18                                              )      SAN FRANCISCO VENUE
19
20
21   To the Honorable Nandor Vadas, United States Magistrate Judge for the United States
22   District Court for the Northern District of California:
23          The United States of America respectfully petitions the Court to issue a Writ of
24   Habeas Corpus Ad Prosequendum for the prisoner Ronnie Calloway, a/k/a “Oreo.”
25   //
26   //
27   //
28
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 1   The prisoner has been indicted in United States v. Raymon Milburn, et al., CR 05-0167-
 2   WHA, and is required to appear before the Court for an initial appearance. His place of
 3   custody and jailor are set forth in the following proposed writ.
 4
 5   DATED:                                       Respectfully submitted,
 6                                                KEVIN V. RYAN
                                                  United States Attorney
 7
 8
                                                         /s/
 9
                                                  RICHARD J. CUTLER
10                                                PHILIP J. KEARNEY
                                                  Assistant United States Attorneys
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13   IT IS SO ORDERED.




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15   DATED: October 28, 2005                                    OO
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16
                                                  HON. NANDOR VADAS
                                                                              das
17                                                                    or J. Va Judge
                                                  United States Magistrate
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 1               THE PRESIDENT OF THE UNITED STATES OF AMERICA
 2   To: Fred Rocha, United States Marshal for the Northern District of California; any of his
 3   authorized deputies, and agents of the Federal Bureau of Investigation; and to Mark
 4   Shepherd, Warden, Folsom State Prison, 300 Prison Road, Folsom, California:
 5                                         GREETINGS
 6            The prisoner RONNIE CALLOWAY (dob 6/22/1982) is now in custody in the
 7   above-referenced institution. He is charged by indictment in United States v. Raymon
 8   Milburn, et al., CR 05-0167-WHA. He is required to appear for prosecution in the federal
 9   criminal case now pending against him in the United States District Court for the
10   Northern District of California, for an initial appearance on November 18, 2005 at 9:30
11   a.m. in the courtroom of United States Magistrate Judge Edward M. Chen , 450 Golden
12   Gate Avenue, 15 th Floor, San Francisco, California.
13            YOU ARE COMMANDED to produce the prisoner in this Court FORTHWITH or
14   release him into the custody of the United States Marshal, his deputies, or agents of the
15   Federal Bureau of Investigation who will bring him before Magistrate Judge Maria-Elena
16   James.
17            YOU ARE FURTHER COMMANDED that if the prisoner is to be released from
18   custody in the above-referenced institution, he be IMMEDIATELY delivered to the
19   United States Marshal, his deputies authorized under this writ, or agents of the Federal
20   Bureau of Investigation.
21            WITNESS the Honorable Nandor Vadas, United States Magistrate Judge of the
22   United States District Court for the Northern District of California. 450 Golden Gate
23   Avenue, San Francisco, California 94102. Accordingly,
24            WE COMMAND that you produce the prisoner.
25            WE FURTHER COMMAND that if the prisoner is to be released from custody in
26   the above-referenced institution, the prisoner be IMMEDIATELY delivered to the United
27   States Marshal or any of his authorized deputies pursuant to this writ.
28            WITNESS the Honorable Nandor Vadas, United States Magistrate Judge of the

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 1   United States District Court for the Northern District of California.
 2
 3   DATED:      October 28, 2005                 CLERK
                                                  UNITED STATES DISTRICT COURT
 4                                                NORTHERN DISTRICT OF CALIFORNIA
 5                                                    Venice Thomas
 6                                                DEPUTY CLERK
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